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7
8                        UNITED STATES DISTRICT COURT
9                      CENTRAL DISTRICT OF CALIFORNIA
10
11   RUSTY RENDON, an individual              Case No.
12
                           Plaintiff,       DEFENDANT REGENERON
13                                          PHARMACEUTICALS, INC.’S
                  v.                        NOTICE OF REMOVAL OF
14                                          STATE COURT ACTION TO THE
     REGENERON PHARMACEUTICALS, UNITED STATES DISTRICT
15   INC., a New York corporation; DOES 1 - COURT
16   10, inclusive,
                                            [Removed from the Superior Court of
17                        Defendants.       the State of California, County of Los
                                            Angeles Case]
18
19                                            Los Angeles Superior Court
                                              Case No. 22STCV12723
20
                                              Action Filed: April 15, 2022
21                                            Trial Date:   None Set
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        REGENERON PHARMACEUTICALS, INC.’S NOTICE OF REMOVAL OF STATE
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1         TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR
2    THE CENTRAL DISTRICT OF CALIFORNIA, AND TO PLAINTIFF AND
3    HIS ATTORNEYS OF RECORD:
4         PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1331, 1332, 1441,
5    1443, and 1446, Defendant Regeneron Pharmaceuticals, Inc. (“Regeneron”)
6    removes to this Court the civil action entitled Rusty Rendon v. Regeneron
7    Pharmaceuticals, Inc., et al. (the “Action”), previously pending in the Superior
8    Court of the State of California, County of Los Angeles, Department 52, located at
9    Stanley Mosk Courthouse, 111 North Hill Street, Los Angeles, CA 90012 as Case
10   No. 22STCV12723. Removal of the Action is made on the following grounds:
11   I.    PROCEDURAL BACKGROUND
12         1.   On April 15, 2022, Plaintiff Rusty Rendon (“Plaintiff”) filed a complaint
13   in the Superior Court of California, County of Los Angeles, commencing the
14   Action. True and correct copies of the Summons and Complaint are attached to this
15   notice of removal (the “Notice of Removal”) as Exhibits 1 and 2, respectively.
16         2.   On April 19, 2022, Regeneron was purportedly served with a copy of
17   the Summons and Complaint through its registered agent for service of process.
18         3.   Regeneron files this Notice of Removal within thirty (30) days from the
19   date it was purportedly served with the Summons and Complaint. Accordingly, this
20   removal is timely. 28 U.S.C. § 1446(b).
21         4.   To Regeneron’s knowledge, no other defendant has been served or
22   named. Accordingly, consent for removal of the Action from the fictitious “Doe”
23   defendants is not required.
24         5.   Regeneron will provide written notice of this Notice of Removal to
25   Plaintiff and any other adverse parties as required by 28 U.S.C. § 1446(d) and will
26   file a copy of this Notice of Removal with the Superior Court of California, County
27   of Los Angeles.
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          REGENERON PHARMACEUTICALS, INC.’S NOTICE OF REMOVAL OF STATE
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1           6.    Venue is proper in this Court because the Action is being removed from
2    the Superior Court for the State of California in Los Angeles County.
3           7.    By removing the Action to this Court, Regeneron does not waive any
4    defenses, objections, or motions available under state or federal law. Regeneron
5    expressly reserves the right to move for dismissal of Plaintiff’s claims pursuant to
6    Rule 12 of the Federal Rules of Civil Procedure and/or seek dismissal on grounds
7    of lack of personal jurisdiction, improper venue, or under the doctrine of forum non
8    conveniens.
9    II.    THE COURT HAS ORIGINAL JURISDICTION OF THE ACTION
10          A.     The Court has diversity jurisdiction.
11          8.    The Action is a civil action over which the Court has original jurisdiction
12   pursuant to 28 U.S.C. § 1332. The Action may be removed pursuant to 28 U.S.C.
13   §§ 1441 because this is a civil action in which there is complete diversity of
14   citizenship between Plaintiff and Regeneron, and the amount in controversy
15   exceeds $75,000.
16                 1.     Complete diversity of citizenship exists.
17          9.    For purposes of removal, diversity of citizenship is determined at the
18   time the Action was filed and at the time of removal. See Morongo Band of Mission
19   Indians v. California State Bd. Of Equalization, 858 F.2d 1376, 1380 (9th
20   Cir.1988).
21          10. For purposes of diversity jurisdiction, a person is a citizen of his or her
22   state of domicile, which is determined at the time the lawsuit is filed. Lew v. Moss,
23   797 F.2d 747, 750 (9th Cir. 1986). “A person is ‘domiciled’ in a location where he
24   or she has established a fixed habitation or abode of a particular place, and [intends]
25   to remain there permanently and/or indefinitely.” Id. at 749-50.
26          11. As alleged in the Complaint, Plaintiff resides in California. Complaint ¶
27   8. Therefore, Plaintiff is deemed a citizen of California for purposes of the diversity
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           REGENERON PHARMACEUTICALS, INC.’S NOTICE OF REMOVAL OF STATE
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1    jurisdiction analysis. See Barboas v. Trans. Drivers, Inc., 2015 WL 9272828, at *3
2    (C.D. Cal. Dec. 18, 2015) (plaintiff was a California citizen because he alleged that
3    he resided in that state); U.S. Bank, N.A. For Registered Holders of ML-CFC
4    Commercial Mortg. Trust 2007-7 v. Miller, 2013 WL 12183653, at *6 & n. 21 (C.D.
5    Cal. Jan. 16, 2013) (same).
6          12. “A corporation shall be deemed a citizen of any State by which it has
7    been incorporated and of the State where it has its principal place of business.” 28
8    U.S.C. § 1332(c)(1).
9          13. As alleged in the Complaint, Regeneron is a New York corporation with
10   its principal place of business is in Tarrytown, New York. Complaint ¶ 10.
11         14. There are no other named defendants in the Action. The citizenship of
12   Doe defendants is not considered for purposes of determining diversity jurisdiction,
13   nor has Plaintiff given any hint as to who else might be named in this lawsuit as a
14   defendant. See 28 U.S.C. § 1441(b) (“In determining whether a civil action is
15   removable on the basis of the jurisdiction under section 1332(a) of this title, the
16   citizenship of defendants sued under fictitious names shall be disregarded.”).
17   Accordingly, the citizenship of any fictitious “Doe” defendant need not be
18   considered for the purpose of ascertaining whether complete diversity exists.
19         15. Based on the foregoing, complete diversity of citizenship of the parties
20   to the Action exists.
21                2.     The amount-in-controversy requirement is satisfied.
22         16. To show that the amount in controversy requirement is satisfied,
23   Regeneron need only demonstrate, by a preponderance of evidence, that Plaintiff’s
24   claims meet the jurisdictional limits. 28 U.S.C. § 1446(c)(B). The Court can and
25   should consider all recoverable damages sought by Plaintiff, including
26   compensatory damages, punitive damages, statutory penalties, and attorneys’ fees.
27   See Galt G/S v. JSS Scandinavia, 142 F.3d 1150, 1155-56 (9th Cir. 1998). The Court
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         REGENERON PHARMACEUTICALS, INC.’S NOTICE OF REMOVAL OF STATE
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1    may also consider the value of nonmonetary relief sought. 28 U.S.C. §
2    1446(c)(2)(A)(i).
3          17. Regeneron satisfies its burden of establishing that the jurisdictional limit
4    is met by establishing that it is “more likely than not” that the amount in controversy
5    exceeds $75,000. See Sanchez v. Monumental Life Ins. Co., 102 F.3d 398, 403-04
6    (9th Cir. 1996).
7          18. As the Supreme Court has explained, “by borrowing the familiar ‘short
8    and plain statement’ standard” from Rule 8(a) of the Federal Rules of Civil
9    Procedure, Congress “clarif[ied] that courts should apply the same liberal rules [to
10   removal allegations] that are applied to other matters of pleading.” Dart Cherokee
11   Basin Operating Co. v. Owens, 135 S. Ct. 547, 552 (2014) (internal citations
12   omitted). The “short and plain statement” requirement in removal notices must
13   merely allege the basis for federal jurisdiction “plausibly” but “need not contain
14   evidentiary submissions” to support such allegations. Id. at 551 (internal citations
15   omitted). Thus, “a removing party’s notice of removal need not meet a higher
16   pleading standard than the one imposed on a plaintiff in drafting an initial
17   complaint.” Ellenburg v. Spartan Motors Chassis Inc., 519 F.3d 192, 200 (4th Cir.
18   2008).
19         19. Moreover, if the Court has any doubts as to the removing party’s
20   allegations, the Court must give the parties an opportunity to proffer evidence
21   concerning the allegations – and only at that point can the Court decide whether
22   preponderance of the evidence shows that the amount in controversy is satisfied.
23   See Dart Cherokee, 135 S. Ct. at 554 (“Evidence establishing the amount is required
24   . . . when . . . the court questions[] the defendant’s allegation.”); see also Ibarra v.
25   Manheim Invs., Inc., 775 F.3d 1193, 1199 (9th Cir. 2015) (same).
26         20. Here, Plaintiff seeks monetary damages, attorneys’ fees and costs, and
27   nonmonetary relief. See Complaint at 11. While Regeneron disputes any liability in
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         REGENERON PHARMACEUTICALS, INC.’S NOTICE OF REMOVAL OF STATE
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1    this case, a review of the damages potentially recoverable under the Unruh Civil
2    Rights Act, California Civil Code § 51 et seq. (the “Unruh Act”) and Plaintiff’s
3    theory of liability, which involves allegedly repeating claims and ongoing
4    violations, establishes that the value of the damages recovery sought by Plaintiff
5    and cost to Regeneron satisfies the “good faith” requirement for purposes of
6    removal under 18 U.S.C. §1446(c)(2).
7          21. While Plaintiff purports to “limit” his damages to $74,999 in monetary
8    damages—in a transparent attempt to try to avoid the Court’s jurisdiction—
9    Regeneron’s conservative and good faith estimate of the value of Plaintiff’s claims
10   in this Action, if Plaintiff prevails and recovers damages on his claims, will exceed
11   $75,000 in damages, attorneys’ fees and costs, and the cost of the non-monetary
12   relief sought.
13         22. With respect to statutory damages, the Unruh Act permits recovery of a
14   minimum of $4,000 “for each and every offense” of its provisions. Cal. Civ. Code
15   § 52(a). Here, Plaintiff alleges in the Complaint that he has been denied full land
16   equal access to Regeneron’s website “multiple times in the past” and that he has
17   been deterred “on a regular basis from accessing Defendant’s Website.” See
18   Complaint ¶ 8; see also id. ¶ 24 (alleging “numerous access barriers contained on
19   Defendant’s website [that] have denied Plaintiff’s full and equal access, and
20   deterred Plaintiff on a regular basis from accessing the Website.”).
21         23. Based on Plaintiff’s allegations in the Complaint, he is clearly seeking
22   to establish liability based on multiple alleged “offenses” at a minimum of $4,000
23   in damages per offense.
24         24.    In addition to statutory damages in the amount of $4,000 per offense,
25   the Unruh Act provides that attorneys’ fees are recoverable for prevailing parties.
26   Accordingly, attorneys’ fees and costs are appropriately considered when assessing
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         REGENERON PHARMACEUTICALS, INC.’S NOTICE OF REMOVAL OF STATE
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1    the amount in controversy. Cal. Civ. Code § 52(a); see also Galt G/S, 142 F.3d at
2    1155-56.
3          25. Based on Regeneron’s counsel’s hourly rates and practices, which are in
4    line with the prevailing market in the community for similar services by lawyers of
5    reasonably comparable skill, experience, and reputation, and the estimated amount
6    of time it will take to litigate this Action through trial, the attorneys’ fees alone that
7    will be incurred in this case will far exceed the jurisdictional limit of $75,000, even
8    with Plaintiff’s purported attempt to cap recovery at $74,999.
9          26. The cost of nonmonetary relief at issue is also considered by courts when
10   evaluating whether the amount in controversy is satisfied. 28 U.S.C. §
11   1146(c)(2)(A)(i).
12         27. Plaintiff’s Complaint seeks, among other damages and relief, “a
13   preliminary and permanent injunction requiring Defendant to take the steps
14   necessary to make the Website . . . readily accessible to and usable by visually-
15   impaired individuals.” Complaint at 11.
16         28. While Plaintiff has identified some of the technical issues he has with
17   Regeneron’s website, he has not provided an exhaustive list of his complaints or
18   demands. Complaint ¶ 22 (“The Website’s barriers are pervasive and include, but
19   are not limited to, the following . . .”) (emphasis added). Plaintiff does, however,
20   specify several technical and esoteric grievances regarding Regeneron’s website,
21   such as:
22          “Empty or missing form labels”;
23          “Multiple form labels”;
24          “Empty buttons”;
25          “Empty links that contain no text”;
26          “Broken ARIA references”; and
27          a “Broken ARIA menu.”
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         REGENERON PHARMACEUTICALS, INC.’S NOTICE OF REMOVAL OF STATE
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1    Complaint ¶ 22. Plaintiff also points generally to Web Content Accessibility
2    Guidelines (“WCAG 2.1”) published by an organization named W3C when alleging
3    Regeneron’s purported noncompliance with accessibility requirements. See e.g.,
4    Complaint ¶ 18.
5          29. In the Ninth Circuit, “the test for determining the amount in controversy
6    is the pecuniary result to either party which the judgment would directly produce.”
7    In re Ford Motor Co./Citibank (South Dakota), N.A., 264 F.3d 952, 958 (9th Cir
8    2001) (emphasis added).
9          30. While Regeneron does not admit liability for any amount of damages,
10   the purported issues that Plaintiff has allegedly encountered could not be mended
11   with a simple fix (if they existed) but would require Regeneron to retain the services
12   of software engineers, third-party platform agencies, and/or other internal and
13   external IT professionals to undertake significant work on Regeneron’s website. If
14   Plaintiff prevailed and obtained injunctive relief for his alleged grievances,
15   Regeneron would be forced to hire computer specialists (and perhaps other
16   accessibility consultants) who are familiar with the type of digital modifications that
17   Plaintiff demands in this case. To effectuate these substantive modifications and
18   coordinate with external vendors, Regeneron would be required to sustain
19   substantial internal employee time at great cost to the company.
20         31. In short, to take all the measures necessary to implement and address the
21   alleged issues on its website about which Plaintiff complains would require
22   Regeneron to hire individuals whose time, services, and expertise comes at a high
23   cost and will easily exceed the jurisdictional threshold for removal based on
24   diversity jurisdiction. While Plaintiff’s Complaint states that Plaintiff would
25   purportedly limit the cost of injunctive relief such that Regeneron would not have
26   to expend more than $20,000 as the cost of injunctive relief, see Complaint at 11,
27   that is not plausible nor realistic. It is clear from the nature of Plaintiff’s claims and
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         REGENERON PHARMACEUTICALS, INC.’S NOTICE OF REMOVAL OF STATE
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1    his requested injunctive relief that the administrative and technological costs that
2    Regeneron needs to expend to modify its website will far surpass $20,000—and
3    based on discussions with outside experts in the field of website design and
4    accessibility, Regeneron is informed and believes that the cost of the injunctive
5    relief sought by Plaintiff in the Complaint alone may exceed $75,000.
6            32. Accordingly, the amount in controversy in this Action exceeds the
7    requisite minimum of $75,000.
8            B.     The Court has federal question jurisdiction.
9            33. The Action is also a civil action over which the Court has original
10   jurisdiction pursuant to 28 U.S.C. § 1331. The Action may be removed pursuant to
11   28 U.S.C. §§ 1441 and 1443 because it appears from the face of the Complaint that
12   Plaintiff has filed a civil rights action and his claims are founded on a claim or right
13   arising under the laws of the United States.
14           34. The Complaint seeks injunctive (nonmonetary) relief and money
15   damages against Regeneron pursuant to the Unruh Act. From the face of the
16   Complaint, it appears that Plaintiff’s claims are based solely upon alleged violations
17   of the federal Americans with Disabilities Act, 42 U.S.C. § 12182 et seq. (the
18   “ADA”). See, e.g., Complaint at ¶¶ 2, 3, 9, 11, 29). Because the Complaint seeks
19   injunctive relief and is premised upon violations of the federal ADA, the Court has
20   federal question jurisdiction.
21           35. Additionally, the Court has federal question jurisdiction because the
22   Complaint presents a substantial, disputed question of federal law as a necessary
23   element to Plaintiff’s claims.
24   III.    CONCLUSION
25          For the reasons set forth above, Regeneron requests that this Court remove the
26   Action from the Superior Court for the State of California, County of Los Angeles
27   to this Court.
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            REGENERON PHARMACEUTICALS, INC.’S NOTICE OF REMOVAL OF STATE
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 1   Dated: May 17, 2022              Respectfully submitted:
 2                                    BIENERT KATZMAN
                                      LITTRELL WILLIAMS LLP
 3
 4                                    By:   /s/ Anthony R. Bisconti
                                            Anthony R. Bisconti
 5                                          Carlos A. Nevarez
 6                                          Attorneys for Defendant Regeneron
                                            Pharmaceuticals, Inc.
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         REGENERON PHARMACEUTICALS, INC.’S NOTICE OF REMOVAL OF STATE
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 1                             CERTIFICATE OF SERVICE

 2          I declare that I am a citizen of the United States and I am a resident and
 3   employed in Los Angeles, California; that my business address is 601 W. 5th Street,
     Ste. 720, Los Angeles, California 90071; that I am over the age of 18 and not a party
 4   to the above-entitled action.
 5
            I am employed by a member of the United States District Court for the
 6   Central District of California, and at whose direction I caused service of the
     foregoing document entitled DEFENDANT REGENERON
 7   PHARMACEUTICALS, INC.’S NOTICE OF REMOVAL OF STATE
     COURT ACTION TO THE UNITED STATES DISTRICT COURT on all
 8   interested parties as follows:
 9
     PACIFIC TRIAL ATTORNEYS
10   Scott J. Ferrell
11   Victoria C. Knowles
     4100 Newport Place Drive, Ste. 800
12   Newport Beach, CA 92660
     sferrell@pacifictrialattorneys.com
13
     vknowles@pacifictrialattorneys.com
14   Attorneys for Plaintiff Rusty Rendon
15         [X] BY ELECTRONIC TRANSMISSION: by electronically filing the
16         foregoing with the Clerk of the District Court using its CM/ECF System pursuant
           to the Electronic Case Filing provision of the United States District Court General
17         Order and the E-Government Act of 2002, which electronically notifies all parties
18         in this case.

19         [X] BY MAIL - I deposited such envelope in the mail at Los Angeles, California.
           The envelope was mailed with postage thereon fully prepaid. I am “readily
20         familiar” with the firm's practice of collection and processing correspondence for
21         mailing. Under that practice it would be deposited with the U.S. Postal Service
           on that same day with postage thereon fully prepaid at Los Angeles California in
22         the ordinary course of business. I am aware that on motion of the party served,
23         service is presumed invalid if postal cancellation date or postage meter date is
           more than one (1) day after date of deposit for mailing in affidavit.
24
25        I declare under penalty of perjury under the laws of the United States of
     America that the foregoing is true and correct. Executed on May 17, 2022 at Los
26   Angeles, California.
27
                                                                   /s/ Elizabeth Garcia
28                                                                 Elizabeth Garcia

                                   CERTIFICATE OF SERVICE
